                                                            Case: 1:17-md-02804-DAP Doc #: 249-2A Filed: 04/23/18 1 of 1. PageID #: 1177
                                                                                     EXHIBIT
                                                                                                         In re: National Prescription Opiate litigation
                                                                                                                       TIME REPORT
FIRM NAME:
REPORTING PERIOD:

Categories:                                                                                                                                                                                             Status:
  (1) Investigation / Factual Research                       (7)     Pleadings / Motions                                          (13)   Experts / Consultants                                          (P) Partner
  (2) Attorney Meetings / Strategy                           (8)     Written Discovery / Plaintiff's Document Production          (14)   Settlement / Mediation                                         (A) Associate
  (3) Attorney Communications                                (9)     Court Appearances                                            (15)   Trial Preparation                                              (LC) Law Clerk
  (4) Client Communications                                 (10)     Depositions (Prepare / Take / Defend)                        (16)   Trial                                                          (PL) Paralegal
  (5) Case Management                                       (11)     Document Review Tier 1                                       (17)   Appeals
  (6) Legal Research                                        (12)     Document Review Tier 2



                                                                                                                                                                                                                            Cumulative         Cumulative
NAME                                 STATUS   (1)    (2)       (3)          (4)       (5)        (6)        (7)       (8)   (9)     (10)        (11)      (12)    (13)    Current Hours   Hourly Rate    Current Lodestar     Hours             Lodestar
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
ATTORNEY TOTALS                                                                                                                                                                   0.00                  $             -             0.00   $            -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
                                                                                                                                                                                  0.00                  $             -
NON-ATTORNEY TOTALS                                                                                                                                                               0.00                  $             -             0.00   $            -
                                                                                                                                                                                  0.00
TOTALS                                        0.00   0.00          0.00      0.00      0.00       0.00      0.00                                                   0.00           0.00                               0.00           0.00               0.00
